                                                      Case 2:11-cr-00429-JAM Document 372 Filed 02/09/15 Page 1 of 2


                                            1   Kresta Nora Daly, SBN 199689
                                                BARTH DALY LLP
                                            2   431 "I" Street, Suite 201
                                                Sacramento, California 95814
                                            3   Telephone: (916) 440-8600
                                                Facsimile: (916) 440-9610
                                            4   Email: kdaly@barth-daly.com
                                            5   Attorneys for Defendant
                                                JERRY KUWATA
                                            6

                                            7

                                            8                                  IN THE UNITED STATES DISTRICT COURT

                                            9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

                                           10

                                           11   UNITED STATES OF AMERICA,                            Case No. 2:11-CR-00429-JAM
                                           12                     Plaintiff,
                                                                                                     STIPULATION AND
               S ACRAMENTO , C ALIFORNIA




                                           13            v.                                          ORDER
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                           14   JERRY KUWATA,
                                                                                                     Date: February 10, 2015
                                           15                     Defendant.                         Time: 9:30 a.m.
                                                                                                     Judge: Honorable John A. Mendez
                                           16

                                           17            It is hereby stipulated and agreed to between the United States of America through
                                           18   Michele Beckwith, Assistant U.S. Attorney, and defendant Jerry Kuwata, through his counsel,
                                           19   Kresta Nora Daly, that the sentencing set for February 10, 2015 be vacated and that a new
                                           20   sentencing date be set for April 28, 2015 at 9:15 a.m.
                                           21   ///
                                           22   ///
                                           23   ///
                                           24   ///
                                           25   ///
                                           26   ///
                                           27   ///
                                           28

                                                STIPULATION AND [PROPOSED] ORDER                                             [CASE NO. 2: 11-CR-00429-JAM]
                                                                                                 1
                                                  Case 2:11-cr-00429-JAM Document 372 Filed 02/09/15 Page 2 of 2


                                            1   Dated: February 6, 2015            Respectfully submitted,
                                            2                                      BARTH DALY LLP
                                            3

                                            4                                      By    /s/ Kresta Nora Daly
                                                                                         KRESTA NORA DALY
                                            5                                      Attorneys for JERRY KUWATA
                                            6

                                            7   Dated: February 6, 2015            By      /s/ Kresta Nora Daly
                                                                                           MICHELE BECKWITH
                                            8                                        Assistant United States Attorney
                                            9
                                                                                         ORDER
                                           10
                                                                 IT IS SO ORDERED.
                                           11
                                                Dated: 2/9/2015
                                           12                                         /s/ John A. Mendez_______________________
                                                                                      HONORABLE JOHN A. MENDEZ
               S ACRAMENTO , C ALIFORNIA




                                           13                                         UNITED STATES DISTRICT COURT JUDGE
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                           14

                                           15

                                           16

                                           17

                                           18

                                           19

                                           20

                                           21

                                           22

                                           23

                                           24

                                           25

                                           26

                                           27

                                           28

                                                STIPULATION AND [PROPOSED] ORDER                                        [CASE NO. 2: 11-CR-00429-JAM]
                                                                                              2
